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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: WELLBUTRIN XL             :          CIVIL ACTION
ANTITRUST LITIGATION             :          NO. 08-2433
                                 :
                                 :
THIS DOCUMENT RELATES TO:        :
INDIRECT PURCHASER ACTION        :


                                 ORDER

           AND NOW, this 30th day of June, 2015, upon

consideration of defendants SmithKline Beecham Corporation d/b/a

GlaxoSmithKline and GlaxoSmithKline plc’s (collectively, “GSK”)

Motion to Decertify the Indirect Purchaser Plaintiff Class

(“IPC”) (Docket No. 507), GSK’s Motion to Exclude the Expert

Opinions and Testimony of Meredith Rosenthal Regarding

Ascertainability (Docket No. 532), the IPC’s Motion Under Rule

702 of the Federal Rules of Evidence to Exclude Opinions and

Testimony of Bruce A. Strombom (Docket No. 528), all oppositions

and replies thereto, and after hearing oral argument on these

motions on May 29, 2015, for the reasons stated in a memorandum

of law bearing today’s date, IT IS HEREBY ORDERED that:

           1.     GSK’s Motion to Decertify the IPC is GRANTED.

           2.     GSK’s Motion to Exclude the Expert Opinions and

Testimony of Meredith Rosenthal Regarding Ascertainability is

GRANTED.
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          3.   The IPC’s Motion Under Rule 702 of the Federal

Rules of Evidence to Exclude Opinions and Testimony of Bruce A.

Strombom is DENIED.

          4.   The indirect purchaser litigation class certified

by the Court’s orders of August 12, 2011 (Docket No. 354) and

August 30, 2011 (Docket No. 357) is DECERTIFIED.



                                 BY THE COURT:



                                 /s/Mary A. McLaughlin
                                 MARY A. McLAUGHLIN, J.
